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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-13-599
                                                  §
                                                  §
SERGIO MOLINA BECERRA                             §
CARLOS ERNEST ZUNIGA                              §

                                                ORDER

       Defendant Carlos Zuniga filed a motion for continuance, (Docket Entry No. 35). The

government and codefendants are unopposed to the motion. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The docket

control order is amended as follows:

       Motions are to be filed by:                     April 28, 2014
       Responses are to be filed by:                   May 12, 2014
       Pretrial conference is reset to:                May 19, 2014 at 8:45 a.m.
       Jury trial and selection are reset to:          May 27, 2014 at 9:00 a.m.


               SIGNED on March 14, 2014, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
